           Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 1 of 12



                                                     State of Louisiana
                                                     Secretary of State


                                                                                                    Legal Services Section

                                                              08/08/2019                  P.O. Box 94125, Baton Rouge, LA 70804-9125

                                                                                                          (225) 922-0415




     SUN LIFE FINANCIAL (U.S.) SERVICES COMPANY, INC.
     1 SUN LIFE EXECUTIVE PARK, SC1135
                                                                                      Received
     WELLESLEY HILLS, MA 02481                                                        AUG 1 2 2019

                                                                                Law D gpartmem

     Suit No.: 795775
     24TH JUDICIAL DISTRICT COURT
     JEFFERSON PARISH


     DR. OUSSAMA NACHAR
     vs

     SUNLIFE INSURANCE COMPANY OF CANADA




     Dear Sir/Madam:


     I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
     this document, please return it to the above address with a letter of explanation. All other questions regarding this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,


                                                                                     R. KYLE ARDOIN
                                                                                     Secretary of State




Served on: R.KYLE ARDOIN                                              Date: 08/07/2019
Served by:   E CUMMINS                                                Title:   DEPUTY SHERIFF

SCOPE


                                                                                                   No: 1129238


SG

                                                                                                    1129238
                                                                                                           EXHIBIT A
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     Case 2:19-cv-12229-EEF-JVM
       00                                                                          Document 1-1 Filed 08/20/19 Page 2 of 12
                                                                                              19072416365
      (101) CITATION: FIRST AMENDING PETITI
                                            ON FOR BREACH OF
     INSURANCE CONTRACT, STATUTORY PENAL
                                        TIES AND ATTORNEY'S
    FEES; PETITION FOR BREACH OF INSUR                                                                  190724-1636-5
                                       ANCE CONTRACT,
    STATUTORY PENALTIES AND ATTORNEY'S
                                         FEES/EXHIBIT 1


                                                   24TH JUDICIAL DISTRICT COURT
                                                          PARISH OF JEFFERSON
                                                           STATE OF LOUISIANA

     DR OUSSAMA NACHAR
       versus                                                                          Case: 795-775 Div: "G"
    SUNLIFE INSURANCE COMPANY OF CANAD                                                 P 1 OUSSAMA NACHAR DR
                                       A

    To: SUN LIFE FINANCIAL SERVICES COMP
                                         ANY INC
   THRU SECRETARY OF STATE
                                                                                       SOS CK# 011623 $50.00
   8585 ARCHIVES AVENUE
                                                                                      EBR CK# 01 1624 $39.36
   BATON ROUGE LA 70809



  PARISH OF JEFFERSON

  You are hereby summoned to comply with
                                         the demand contained in the FIRST AMEN
                                                                               DING
  PETITION FOR BREACH OF INSURANCE
                                         CONTRACT, STATUTORY PENALTIES AND
  ATTORNEY'S FEES of which a true and correc
                                             t copy accompanies this citation, or make
  appearance either by filing a pleading or                                            an
                                            otherwise, in the 24th Judicial District Court
  the Parish of Jefferson, State of Louisiana,                                             in and for
                                               within FIFTEEN (15) CALENDAR days after
  service hereof, under penalty of default.                                                    the



 This service was requested by attorney JULIE
                                              QUINN and was issued by the Clerk of Court
 the 24th day of July, 201 9.                                                            on



                                                      Is/ Marilyn Guidry
                                                      Marilyn Guidry, Deputy Clerk of Court for
                                                      Jon A. Gegenheimer, Clerk of Court




                                                       SERVICE INFORMATION

   (101) CITATION: FIRST AMENDING PETITI
                                         ON FOR BREACH OF
  INSURANCE CONTRACT, STATUTORY PENAL
                                       TIES AND ATTORNEY'S
  FEES; PETITION FOR BREACH OF INSURANCE                                                               190724-1636-5
                                         CONTRACT,
  STATUTORY PENALTIES AND ATTORNEY'S
                                      FEES/EXHIBIT 1
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 Service was made:
                 Personal                       Domicilary

Unable to serve:
                 Not at this address            Numerous attempts         times                            S
              Vacant
              Moved
                                                Received too late to serve                                 CP*
                                                No longer works at this address
              No such address                   Need apartment / building number
              Other


Service: S_                      Mileage: $_                  Total: S.

Completed by:.
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                               Deputy Sheriff
Paiish of:




                                  Thomas F Donelon Courthouse : 200 Derbigny St
                                                                                : Gretna LA 70053
Page 1 of 1
                          Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 3 of 12
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                                  24TH DISTRICT COURT FOR THE PARISH OF JEFFERS
                                                                                ON

                                                        STATE OF LOUISIANA

                    CASE NO.    mm                                                                 DIVISION

                                                       DR. OUSSAMA NACHAR


                                                                 VERSUS

                                      SUN LIFE FINANCIAL SERVICES COMPANY, INC.


                FILED:

                                                                                   DEPUTY CLERK



                        FIRST AMENDING PETITION FOR BREACH OF INSURAN
                                                                      CE CONTRACT.
                                     STATUTORY PENALTIES AND ATTORNEY'S FEES



                           NOW INTO COURT, through undersigned counsel, comes Plaintiff
                                                                                        Dr. Oussama

                    Nachar, who seeks to amend his original Petition for Breach of
                                                                                   Insurance Contract, Statutory

                    Penalties and Attorneys Fees (the "Petition"), as follows:




                                                                       I.

                           Plaintiff realleges and re-avers all content of his Petition herein
                                                                                               as if copied in extenso.


                                                                      II.

                           Plaintiff seeks to amend the caption of his Petition to read as
                                                                                           follows:


                                                                      III.

                         Plaintiff seeks to amend Paragraph 1 of his Petition as follows:


                                                                 1.

                         Made Defendant herein is Sim Life Financial Sendees Company
                                                                                     , Inc., a foreign

              insurance company licensed to do and doing business in the State
                                                                               of Louisiana.

                                                                      IV.


                         Plaintiff amends the Prayer of his Petition as follows:

                         WHEREFORE, Plaintiff Dr. Oussama Nachar prays that Defendant SUN
                                                                                                         LIFE
                         FINANCIAL SERVICES COMPANY, INC. be duly cited and served
                                                                                                      with a
                        copy of this Petition for Damages and that after due proceedings are had,
                                                                                                      there be
                        judgment rendered herein in favor of Plaintiff and against Defendants,
                                                                                                    SUN LIFE
                        FINANCIAL SERVICES COMPANY, INC. for his damages, penalties,
                        attorney's fees, legal interest thereon from date ofjudicial demand until
                                                                                                     paid, for
 #<?%                   all costs of this suit, and for all other general and equitable relief deemed


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                              Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 4 of 12




                                appropriate by this Court.




                               WHEREFORE, plaintiff Dr. Oussama Nachar prays
                                                                             that defendant Sun Life Financial

                        Services Com,pany, Inc. be duly cited and served
                                                                         with a copy of the original Petition for Breach

                        of Insurance Contract. Statutory Penalties and
                                                                       Attorney's Fees and this First Amending Petition

                        for Breach of Insurance Contract, Statutory Penaltie
                                                                             s and attorney's Fees and that after due

                        proceedings are had, there be judgment rendered
                                                                        in favor of plaintiff Dr. Oussama Nachar and

                        against defendant Sun Life Financial for all damage
                                                                            s, penalties, interest from date of judicial

                    demand, attorneys' fees, and for all other general
                                                                       and equitable relief this Court deems just.




                                                                            Respectfully submitted:


                                                                            QUINN ALSTERBERG, LLC




                                                                           JULIE QUINN (#21923)
                                                                           JUSTIN E. ALSTERBERG (#31015)
                                                                           855 Baronne Street
                                                                           New Orleans, Louisiana 701 13
                                                                           Telephone: (504) 522-5607
                                                                           Facsimile: (504) 302-9360
                                                                           Counsel for DR. OUSSAMA NACHAR




                  Please Serve:


                  Sun Life Financial Services Company, Inc.
                  Through its agent for Service of Process        Oc         • O \^
                  Louisiana Secretary of State
                  8585 Archives Ave.
                  Baton Rouge, LA 70809

                                                               Cit-M: O\\*o23 "
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                           Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 5 of 12

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                                             Time;         ]2                           JEFFERSON PAR. EH, LA

                                             Deputy Clerk:
                                                    (SEE ATTACHED LOG)




                                  24TH DISTRICT COURT FOR THE PARISH OF JEFFERSON


                                                        STATE OF LOUISIANA

                 CASE NO.


                                                       DR. OUSSAMA NACHAR
                                                                                                  DIVISION
                                                                                                                3
                                                                 VERSUS


                                         SUNLIFE INSURANCE COMPANY OF CANADA


                 FILED:

                                                                                  DEPUTY CLERK


                                    PETITION FOR BREACH OF INSURANCE CONTRACT.
                                      STATUTORY PENALTIES AND ATTORNEY'S FEES



                            NOW INTO COURT, through undersigned counsel, conies Plaintiff Dr. Oussama


                     Nachar, who avers asfollows:


                                                                 1.

                          Plaintiff is a person of the foil age of majority and domiciled in the Parish of


                Jefferson, State of Louisiana.


                                                                 2.


                          Made Defendant herein is SunLife Assurance Company of Canada ("SunLife"), a


               foreign insurance company licensed to do and doing business in the State of Louisiana.


                                                                 3.

                          Venue is proper in this Court pursuant to La. C.C.P. art 76, as this is an action on a policy


               of health and accident insurance and -Plaintiff is both domiciled in the Parish of Jefferson, and the


               Parish of Jefferson is where the accident occurred which has led to his disability.


                                                                4.


                           At all relevant times, Dr. Nachar was a medical doctor practicing at Ochsner Hospital,


                specializing in Nuclear Medicine arid PET-CT. As such, Dr. Nachar was required to read Scans


                (Nuclear Medicine and PET-CT scans) as a critical part of his job.


                                                                5.


                          At all relevant times, during his employment at Ochsner, Dr. Nachar was offered through

                his employment at Ochsner and and provided a policy of long-term disability insurance through


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                                Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 6 of 12




                          SunLife (the "Disability Policy").


                                                                      6.


                                On information and belief, SunLife's policy provided in its contract of insurance to Dr.


                     Nachar that benefits would be paid to replace his income if he became disabled.


                                                                     7.


                                In December of 2017, During his employment at Ochsner, Dr. Nachar was involved in a

                     gym accident whereupon a weight fell onto his eye.


                                                                     8.


                               Following the accident, Dr. Nachar was treated for his injuries at Ochsner.


                                                                     9.

                               In late January, Dr. Nachar' s treating physician submitted a form indicating that his


                    condition would not improve to allow him to return to work. Defendant advised Ochsner to


                    terminate his employment at that time; however, Ochsner chose not terminate him until March


                     12, 2018, providing more time to see if his condition would improve to allow him to return to


                    work. Ultimately, Ochsner terminated Dr. Nachar on the grounds that his injuries precluded


                    him from performing the material and substantial job duties of his regular occupation.


                                                                     10.


                               Because his health care provider and employer, Ochsner, deemed him unable to perform


                    the material and substantial job duties of his regular occupation and terminated him. Indeed, Sun


                    Life also determined that Dr. Nachar was permanently disabled. See e.g. 7/25/18 Letter from


                    Ochsner to EEOC, attached as Exhibit "1".


                                                                     11.


                              Dr. Nachar made a claim under his disability policy with SunLife after waiting for the


                   elimination period under the policy to run.


                                                                    12.


                              In bad faith, Defendant Sun Life denied Dr. Nachar' s claim, claiming that he was not


                   disabled.




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                           Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 7 of 12




                                                                  13.


                             Defendant Sun Life failed to fulfill its obligations under the policy of insurance, and

                      is therefore liable unto your Petitioner for the following reasons, to-wit:


                             a.     Failing to pay for all coverage due under the policy;


                             b.     Failure to timely and properly communicate with its insured;


                             c.     Breach of Contract; and


                             d.     Penalties, attorney's fees, and all other statutory damages provided by La.


                                    R.S. 22:1821.


                           WHEREFORE, Plaintiff Dr. Oussama Nachar prays that Defendant SUNLIFE

                  EVSURANCE COMPANY OF CANADA be duly cited and served with a copy of
                                                                                      this Petition

                 for Damages and that after due proceedings are had, there be judgment rendered herein
                                                                                                       in favor

                 of Plaintiff and against Defendants, SUNLIFE INSURANCE COMPANY OF CANADA,
                                                                                           for

                 his damages, penalties, attorney's fees, legal interest thereon from date of judicial
                                                                                                       demand until

                 paid, for all costs of this suit, and for all other general and equitable relief deemed
                                                                                                         appropriate by

                 this Court.                            ,



                                                                        Respectfully submitted:


                                                                        QUINN ALSTERBERG, LLC




                                                                               /<£ Ovum
                                                                        -JULIE QUINN (#21923)
                                                                        JUSTIN E. ALSTERBERG (#31015)
                                                                        855 Baronne Street
                                                                        New Orleans, Louisiana 701 13
                                                                        Telephone: (504) 522-5607
                                                                        Facsimile: (504) 302-9360
                                                                        Counsel for DR. OUSSAMA NACHAR




                Please Serve:


                Sun Life Assurance Company of Canada          LBfc O^WbtM 4343/
                Through its agent for Service of Process
                Louisiana Secretary of State
                                                                  Sob (H \lCl21b'oO-00
                8585 Archives Ave.
                Baton Rouge, LA 70809

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     Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 8 of 12




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  VOchsner    Health System
                                                                         JEFFERSON PAREK. LA.                5>Z

                                                                          Filed by: Fax ( „
       Legal Affairs'And Risk Management
                                                                                                      >[V\
                                                                          Deputy Clerk
                                                                                    (SEE   ATTACHED       I..O$l
                                              July 25, 2018

 Via Electronic Mail and Portal
 Dimitris Walker-Bailey
 Equal Employment Opportunity Commission
 500 Poydras Street
 New Orleans, LA 70130
 dimitris.walker-bailey@eeoc.gov


        Re:     EEOC Charge No. 461-2018-01096
                Dr. Oussama Mohamed Nachar


 Dear Ms. Walker-Bailey:


       The following represents the position of Ochsner Clinic Foundation
                                                                           ("Ochsner") in the
above referenced charge of discrimination. Ochsner is an equal
                                                               opportunity employer and does
not discriminate against its employees.


         Dr. Nachar's termination is straight-forward and simple. Dr. Nachar
                                                                              was a radiologist - a
 position that requires that he visually interpret nuclear medical
                                                                       studies. Unfortunately, in
 December 2017, Dr. Nachar suffered from an eye-injury that left
                                                                   him physically unable to do his
job or return to work. Though not eligible for FMLA leave, Ochsner
                                                                     granted Dr. Nachar 15 weeks
of medical leave at which point it became clear that he would remain
                                                                         out of work indefinitely.
Unable to accommodate an indefinite leave of absence, Ochsner terminated
                                                                             his employment.

FACTUAL BACKGROUND


        On December 5, 2017, Dr. Nachar notified the Professional Staff
                                                                          Services Department at
Ochsner that he had suffered a non-work-related injury to his eye
                                                                  on or about December 3, 2017.
He was not eligible for leave under the FMLA, thus his application
                                                                     for FMLA leave was denied
by Ochsner's third-party vendor, Sun-Life Financial. Neverthele
                                                                  ss, Ochsner approved him for
unpaid leave as an accommodation under the ADA.


       In late January 2018, a form submitted by Dr. Nachar's treating
                                                                       physician indicated that,
in the treating physician's opinion, Dr. Nachar's condition would
                                                                   not improve. Sun Life Financial
recommended termination at that time because the condition
                                                                was permanent as of January 30,
2018. Ochsner, however chose not to terminate at that time and
                                                               instead chose to continue providing
leave under the ADA until Dr. Nachar's scheduled appointme
                                                               nt on March 12, 2018. This
appointment, however, was rescheduled, and as of March 12, 2018,
                                                                 there was no indication that
Dr. Nachar would ever be able to return to work. The ADA does
                                                              not require indefinite leave and

                       Ochsner Health System - Legal Affairs and Risk Managemen
                                                                                t

     1450 Poydras St.. Suite 2250 ° New Orleans, LA 70112 o phone
                                                                  504-842-4003 «•     www.i     EXHIBIT


                                                                                                      /
    Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 9 of 12




 VOchsner   Health System

      Legal affairs And Risk Management


such an accommodation would be unreasonable. As
                                                such, he was terminated on March 15, 2018,
because he was unable to return to work.

       Dr. Nachar alleges that Ochsner failed to engage
                                                        in a good faith effort to address his need
for additional leave as an accommodation. This allegatio
                                                          n is false as the facts clearly show that
Ochsner provided Dr. Nachar with nearly fifteen weeks
                                                           of leave to accommodate his medical
condition. He was only terminated after it became clear
                                                        that his medical condition was permanent
and he would not be able to return to work. At that
                                                     point, further leave under the ADA was not
required as it would not be reasonable. Accordin
                                                 gly, Dr. Nachar's charge must be dismissed
without cause.



                                                       Respectfully,


                                                       /s/ CLC
                                                       Catherine Cranfield
                                                       Legal Counsel




                     Ochsner Health System - Legal Affairs and Risk Managem
                                                                            ent

   1450 Poydras St, Suite 2250 o New Orleans, LA 70112 o phone
                                                               504-S42-4003 o     www.ochsner.org
            R. KYLE ARDOIN
         SECRETARY OF STATE
                 P.O. BOX 94125
     BATON ROUGE, LA 70804-9125                                                   U S POSTAGE^p,tney BOWES


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    Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 11 of 12




        24^" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                       STATE OF LOUISIANA



NO: 795775                                                                   DIVISION "G"

                                   DR. OUSSAMA NACHAR


                                             VERSUS


                   SUN LIFE FINANCIAL SERVICES COMPANY,INC.


FILED
                                                      DEPUTY CLERK


                  NOTICE TO COUNSEL AND THE CLERK OF COURT
                        FOR THE 24'" JUDICIAL DISTRICT COURT
                             FOR THE PARISH OF JEFFERSON



TO:    Hon. Jon A. Gegenheimer                                Julie Quinn, Esq.
       Clerk of Court                                         Justin E. Alsterberg, Esq.
       24^*' Judicial District Court                          Quinn Alsterberg, LLC
       Parish of Jefferson                                    855 Baronne Street
       P.O. Box 10                                            New Orleans, LA 70113
       Gretna, LA 70054-0010


       PLEASE TAKE NOTICE, that defendant. Sun Life Assurance Company of Canada,

incorrectly denominated as "Sun Life Financial Services Company, Inc.," in the cause entitled

"Dr Oussama Nachar v. Sun Life Financial Services Company, Inc.f bearing Case No. 795775,

Division "G," on the docket of the 24^*^ Judicial District Court for the Parish of Jefferson, State of

Louisiana, has filed in the United States District Court for the Eastern District of Louisiana, its

Notice of Removal of said action, copy of said Notice being served herewith in conformity with

28 U.S.C. § 1446, reading as follows:

       Promptly after the filing of such notice of removal of a civil action the defendant or

defendants shall give written notice thereof of all adverse parties and shall file a copy of the

notice with the clerk of such State court, which shall effect the removal and the State court shall

proceed no further unless and until the case is remanded.




                          Signature and Certificate ofService, Next Page
Case 2:19-cv-12229-EEF-JVM Document 1-1 Filed 08/20/19 Page 12 of 12
